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            IN THE UNITED STATES DISTRICT COURT
            FOR THE DISTRICT OF OREGON
            MEDFORD DIVISION




                WILLIE J .WALKER,


                               Case No.


               COMPLAINT
                 Plaintiffs,          JURY TRIAL DEMANDED




                V.

            JA~KSON COUNTY,           ~ /'/\   tJ/>J tft/a/fi,-
            CITY OF MEDF~  p -~
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                             , Altc.f- :(fa, vi~A-#~rt
                                          f            . •
            DEP. ,,,,, Perso
            D£P ..... ,""Pefsonally, 019-.I" .5'4,ff->
            OFflCE-R.'dERSONALl:''7              : .., CJ/;t;uv-~
              : ~-         ~ruY-y 4~~ /Int .
                                   , '1fl
                     Defendants. t? / :   f..S.




                         I. INTRODUCTION
             This is an action brought to redress the deprivation by Defendant of rights
            secured to the Plaintiff by the United States Constitution and the
            laws of the United States of America. Medford Police wrongfully searched , seized the
            property of and arrested and incarcerated for 16 hours Mr. Walker on or about March
            17, 2017 and Jackson County and their deputies illegally assaulted Mr. Walker in the
            Jackson County Jail on or about July 11, August 10, 12.




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Pursuant to 42 USC §1983, Plaintiff Walker who is African-American alleges that
Defendants ..... e and the County and City violated his 4th Amendment rights by
subjecting or causing him to experience excessive force and/or cruel and unusual
punishment.

2. Plaintiff seeks an award of economic damages, non-economic damages, and
attorney
fees and litigation expenses/costs against Defendants. Plaintiff also seeks an award of
punitive damages against Defendants under federal law.
               II. JURISDICTION
3. This Court has jurisdiction over Plaintiffs claims by virtue of 28 USC §§1331,
1343, and 1367.
               Ill. PARTIES
4. At all material times herein, Plaintiff Walker were residents of Jackson County in the
State of Oregon.
5. At all material times herein, Defendants .... were Jackson County employees acting
within the course and scope of his employment, and the following Officers were Medford
Police
6. At all material times herein, Defendant Jackson County ("County") was and is a
public body responsible under state law for the acts and omissions of its law
enforcement
officers and other employees.
7. At all times material herein, Defendants,, acted under color of state law.
FACTS

On or about March 17, 2017, Medford Police officers wrongfully searched , seized the
property of and arrested and incarcerated for 16 hours Mr. Walker at 747 Highland Dr.
#30, Medford.
On Or bout July 12, 2017, officers wrongfully seaarched and seized his residence and
destroyed the premised.                              ·
On or about August 8, Medford poloice picked him up on the street and beat him
,injuring his leg.
JCSO deputies beat him in jail onAugust 10 and he was releasedAugust 11.

17. Plaintiff Walker sent a timely Notice of Tort Claim for the March· 17, 2017 incident.
FIRST CAUSE OF ACTION
          FIRST CLAIM FOR RELIEF
          (§1983 -4th Amendment Violation)
18. As applicable, Plaintiff Walker incorporates the above.
19. As described above, officials ..... violated Mr. Walker's right not to be subjected to
excessive force, as guaranteed by the 4th Amendment of the United States
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Constitution.
20. As a result of the above, Mr. Walker is entitled to an award of economic:and
noneconomic damages against the individual Defendants in amounts to be determined
at trial.
21. As a result of the above, Mr. Walker is entitled to an award of punitive damages
against the individual deputies in an amount to be determined at trial.
22. Mr. Walker should be awarded his attorney fees and litigation expenses/costs
against Defendants pursuant to 42 USC §1988.
SECOND CAUSE OF ACTION
              First Claim for Relief
              (State Law Claim - Negligence)
23. As applicable, Plaintiff 1\/ir. Walker incorporates the above.
24. The County was negligent in one or more of the following particulars:
 (a) Failing to hire, train and supervise employees regarding transporting and handling
detainees safely;
(b) Failing to hire, train and supervise employees regarding reasonable suspicion and
probable cause, and unreasonable search and seizure;
25. As a direct result of the negligence of the County, and as a substantial factor and
legal cause thereof, Mr. Walker has suffered economic and noneconomic damages
against the County in amounts to be determined at trial.
Mr. Walker should b~ awarded his costs against the County.
The conduct of....... , resulting in injury to Walker constituted negligence, as
defendants' conduct breached the duty of care of reasonable deputies in dealing with
Walker.
               Second Claim for Relief
               (Battery)
28. The actions of Deputiies .... constituted battery in injuring plaintiff without
justification or provocation.

      DEMAND FOR PUNITIVE DAMAGES
   32. The actions of the Individual Defendants .... detailed herein are outrageous, in
that they involved illegal excessive force and constitutional violations/
DEMAND FOR TRIAL BY JURY
  33. The Plaintiff hereby demands trial by jury.
PRAYER FOR RELIEF
WHEREFORE, Plaintiff Mr. Walker requests that this Honorable Court grants him the
following relief:
A judgment against all Defendants, jointly and severally on all Plaintiffs' Causes of
Action and compensatory damages.
A judgment against the Defendants ..... on Plaintiffs' First Cause of Action for punitive
damages for each.
A·monetary award for attorney's fees and the costs of this action, pursuant to 42 U.S.C.
§ 1988.
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DATED this 12th day of March, 2019.
Respectfully submitted by:
    S//S Willie J..:, Walker    -//L/U
      ~~441~~~
                  1eJ. Walker
               Pro Se




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